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 8
                               UNITED STATES DISTRICT COURT
 9
                                        EASTERN DISTRICT OF CALIFORNIA
10

11       MANVIR SINGH MANN,                                        Case No. 1:18-cv-00485-EPG-HC

12                        Petitioner,                              ORDER MODIFYING BRIEFING
                                                                   SCHEDULE
13               v.

14       DHO ICE,

15                        Respondent.

16

17              Petitioner is a federal immigration detainee proceeding pro se with a petition for writ of

18 habeas corpus pursuant to 28 U.S.C. § 2241 that challenges Petitioner’s prolonged detention and

19 requests the Court “to extradite me or to release me from detention on supervision as before until
20 my travel document[s] bec[o]me available for my extradition.” (ECF No. 1 at 8).
                                                                                   1


21              On June 8, 2018, Respondent filed a response to the petition. (ECF No. 8). As the

22 Department of Homeland Security has indicated that there is a likelihood of the issuance of a

23 travel document based on prior experience in other Indian travel document cases, Respondent

24 proposes filing a supplemental response within sixty days if no travel document has yet been

25 received. (ECF No. 8 at 3–4).

26              On June 5, 2018, U.S. Magistrate Judge Jacqueline Scott Corley granted a motion for

27 class certification of 8 U.S.C. § 1231(a)(6) detainees in the Ninth Circuit and enjoined the

28   1
         Page numbers refer to the ECF page numbers stamped at the top of the page.


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 1 government from detaining class members for more than 180 days without providing each a

 2 bond hearing before an immigration judge as required by Diouf v. Napolitano, 634 F.3d 1081

 3 (9th Cir. 2011). Gonzalez v. Sessions, No. 3:18-cv-01869-JSC, 2018 WL 2688569 (N.D. Cal.

 4 June 5, 2018).

 5        Accordingly, IT IS HEREBY ORDERED that:

 6     1. On or before August 10, 2018, Respondent SHALL FILE a supplemental response with

 7        any new information relevant to the obtainment of the travel document and that also

 8        addresses the class action and injunction referenced above.

 9     2. Petitioner may file a reply within THIRTY (30) days of the date of service of

10        Respondent’s supplemental response.

11
     IT IS SO ORDERED.
12

13     Dated:   June 18, 2018                              /s/
                                                      UNITED STATES MAGISTRATE JUDGE
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